                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                             No. CR13-3035-MWB
 vs.                                                   REPORT AND
                                                    RECOMMENDATION
 ASHLEY STRAIGHT,
                                                CONCERNING PLEA OF GUILTY
                 Defendant.
                                  ____________________


          On October 31, 2013, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered a plea of guilty to Count One of the Indictment. After
cautioning and examining the defendant under oath concerning each of the subjects
mentioned in Rule 11, the court determined that the guilty plea was knowledgeable and
voluntary, and the offense charged was supported by an independent basis in fact
containing each of the essential elements of the offense.           The court therefore
RECOMMENDS that the plea of guilty be accepted and the defendant be adjudged
guilty.
          At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if she answered any questions falsely, she could be prosecuted for
perjury or for making a false statement.        She also was advised that in any such
prosecution, the Government could use against her any statements she made under oath.
          The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated her full name, her age, and the extent of
her schooling. The court inquired into the defendant’s history of mental illness and
addiction to narcotic drugs. The court further inquired into whether the defendant was
under the influence of any drug, medication, or alcoholic beverage at the time of the plea


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hearing. From this inquiry, the court determined that the defendant was not suffering
from any mental disability that would impair her ability to make knowing, intelligent, and
voluntary pleas of guilty to the charges.
          The defendant acknowledged that she had received a copy of the Indictment, and
she had fully discussed these charges with her attorney.
          The court determined that the defendant was pleading guilty under a plea
agreement with the Government. After confirming that a copy of the written plea
agreement was in front of the defendant and her attorney, the court determined that the
defendant understood the terms of the plea agreement. The court then summarized the
plea agreement, and made certain the defendant understood its terms.
          The court explained to the defendant if she pleaded guilty, a presentence report
would be prepared and a district judge would consider whether or not to accept the plea
agreement. If the district judge decided to reject the plea agreement, then the defendant
would have an opportunity to withdraw her pleas of guilty and change them to not guilty.
          The defendant was advised also that after her plea was accepted, she would have
no right to withdraw the plea at a later date, even if the sentence imposed was different
from what the defendant or her counsel anticipated.
          The court summarized the charge against the defendant, and listed the elements of
the crime. The court determined that the defendant understood each and every element
of the crime, ascertained that her counsel had explained each and every element of the
crime fully to her, and the defendant’s counsel confirmed that the defendant understood
each and every element of the crime charged.
          The court then elicited a full and complete factual basis for all elements of the
crimes charged in each Count of the Indictment to which the defendant was pleading
guilty.




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      The court advised the defendant of the consequences of her plea, including the
maximum fine and the maximum term of imprisonment.
      With respect to Count One, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is 20 years; and the maximum period of
supervised release is three years.
      The defendant also was advised that the court is obligated to impose a special
assessment of $100.00, which the defendant must pay. The defendant also was advised
of the collateral consequences of a plea of guilty. The defendant acknowledged that she
understood all of the above consequences.
      The court explained supervised release to the defendant, and advised her that a
term of supervised release would be imposed in addition to the sentence of imprisonment.
The defendant was advised that there are conditions of supervised release, and that if she
were found to have violated a condition of supervised release, then her term of supervised
release could be revoked and she could be required to serve in prison all or part of the
term of supervised release without credit for time previously served on supervised
release.
      The court also explained to the defendant that the district judge would determine
the appropriate sentence for her at the sentencing hearing. The defendant confirmed that
she understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that she understood the sentence imposed might
be different from what her attorney had estimated. Defendant also acknowledges that her
plea agreement contains an appeal waiver, and she agrees to waive her appeal rights as
set out in that waiver. The defendant was advised that parole has been abolished.




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       The defendant indicated she had conferred fully with her counsel and she was fully
satisfied with her counsel. The defendant’s attorney indicated that there is afactual basis
for the guilty plea.
       The defendant then was advised fully of her right to plead not guilty, or having
already entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have her case tried by a jury selected from a cross-section of
              the community;
       4.     That she would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine these
              witnesses;
       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if she could not afford to pay the fees and costs of
              bringing these witnesses to court, then the Government would be required
              to pay those fees and costs;
       8.     That the defendant would have the privilege against self incrimination; i.e.,
              she could choose to testify at trial, but she need not do so, and if she chose
              not to testify, then the court would instruct the jury that the defendant had
              a constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;
       10.    That she would have the right to appeal, and if she could not afford an
              attorney for the appeal, then the Government would pay the costs of an
              attorney to prepare the appeal.




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      The defendant also was advised of the rights she would waive by entering a plea
of guilty. The defendant was told there would be no trial, she would waive all the trial
rights just described, and she would be adjudged guilty without any further proceedings
except for sentencing.
      The defendant then confirmed that her decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises; no one had
promised her what the sentence would be; and her decision to plead guilty was not the
result of any threats, force, or anyone pressuring her to plead guilty.
      The defendant then confirmed that she still wished to plead guilty, and she pleaded
guilty to Count One of the Indictment.
      The court finds the following with respect to the defendant’s guilty plea:
      1.     The guilty plea is voluntary, knowing, not the result of force, threats or
             promises, except plea agreement promises, and the defendant is fully
             competent.
      2.     The defendant is aware of the maximum punishment.
      3.     The defendant knows her jury rights.
      4.     The defendant has voluntarily waived her jury rights.
      5.     There is a factual basis for the plea.
      6.     The defendant is, in fact, guilty of the crime to which she is pleading guilty.
      The defendant was advised that a written presentence investigation report would
be prepared to assist the court in sentencing. The defendant was told that she and her
counsel would have an opportunity to read the presentence report before the sentencing
hearing and to object to the contents of the report, and she and her counsel would be
afforded the opportunity to present evidence and be heard at the sentencing hearing.
      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar her from
attacking this court’s Report and Recommendation, which recommends that the assigned

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United States District Judge accept the defendant’s plea of guilty. A copy of this Report
and Recommendation was served on the defendant and her attorney at the conclusion of
the proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 31st day of October, 2013.




                                         ________________________________
                                         LEONARD T. STRAND
                                         UNITED STATES MAGISTRATE JUDGE




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